953 F.2d 1391
    NOTICE:  Although citation of unpublished opinions remains unfavored, unpublished opinions may now be cited if the opinion has persuasive value on a material issue, and a copy is attached to the citing document or, if cited in oral argument, copies are furnished to the Court and all parties.  See General Order of November 29, 1993, suspending 10th Cir. Rule 36.3 until December 31, 1995, or further order.
    Oliver KINCHEN, Plaintiff-Appellant,v.WESTERN AMERICAN SEATING CO., INC., J. Raymond Wanamaker,doing business as Western American Seating Co.,Defendants-Appellees.
    No. 91-3246.
    United States Court of Appeals, Tenth Circuit.
    Feb. 4, 1992.
    
      Before SEYMOUR, STEPHEN H. ANDERSON and BALDOCK, Circuit Judges.*
      ORDER AND JUDGMENT**
      BALDOCK, Circuit Judge.
    
    
      1
      Plaintiff-appellant Oliver Kinchen appeals from the judgment entered May 3, 1991, pursuant to a jury verdict in favor of defendants.   Plaintiff filed his notice of appeal on June 4, 1991, one day past the thirty-day time limit set forth in Fed.R.App.P. 4(a)(1) (excluding Sunday, June 2, 1991, the thirtieth day).   Moreover, plaintiff did not move for an extension of time as provided by Rule 4(a)(5).   A timely filed notice of appeal is "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978).   We therefore DISMISS the appeal for lack of jurisdiction.   The mandate shall issue forthwith.
    
    
      
        *
         After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not materially assist the determination of this appeal.   See Fed.R.App.P. 34(a);  10th Cir.R. 34.1.9.   The cause therefore is ordered submitted without oral argument
      
      
        **
         This order and judgment has no precedential value and shall not be cited, or used by any court within the Tenth Circuit, except for purposes of establishing the doctrines of the law of the case, res judicata, or collateral estoppel.   10th Cir.R. 36.3
      
    
    